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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



LT. COL. ALEXANDER VINDMAN
c/o Protect Democracy Project, Inc.
2020 Pennsylvania Avenue, NW, #163
Washington, D.C. 20006

                                                              Civil Action No. 1:22-cv-00257-JEB
                       Plaintiff,

       v.

DONALD TRUMP, JR., RUDOLPH GIULIANI,
JULIA HAHN, and DANIEL SCAVINO, JR.,


                       Defendants.



        MOTION TO FILE CONSOLIDATED RESPONSE AND REQUEST FOR
                   ENLARGEMENT OF THE PAGE LIMIT

       Plaintiff Lt. Col. Alexander Vindman hereby moves the court for permission to file a

consolidated response to defendants’ motions to dismiss and requests an enlargement of the page

limit to 75 pages. Defendants have filed three separate motions to dismiss. ECF Nos. 20, 25, 26.

These motions contain multiple overlapping arguments as well as arguments unique to each

defendant. In the interest of efficiency, plaintiff seeks to respond to all of the motions in the same

brief. Plaintiff also requests 30 additional pages—enlarging the total page limit to 75 pages—to

address the individual arguments defendants raise. This amounts to 10 additional pages for each

motion to dismiss and 60 total pages fewer than the limit for three separate responses.

Defendants do not oppose this motion.




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                                    Respectfully submitted,


Dated: July 1, 2022               PLAINTIFF LT. COL. ALEXANDER VINDMAN

                                  By: /s/ Genevieve C. Nadeau

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                                  CERTIFICATE OF SERVICE

        I certify that on this 1st day of July, 2022, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send a notice of electronic filing to all

registered parties.

                                                       Respectfully submitted,

                                                       /s/ Genevieve C. Nadeau
